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                     UNITED STATES COURT OF APPEALS                        FILED
                            FOR THE NINTH CIRCUIT                           MAY 17 2021
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
FACEBOOK, INC., a Delaware corporation; No. 21-80023
et al.,
                                        D.C. No. 2:20-cv-00470-GMS
              Plaintiffs-Respondents,   District of Arizona,
                                        Phoenix
  v.
                                        ORDER
WHOISGUARD, INC., a Republic of
Panama corporation,

                Defendant-Petitioner,

and

NAMECHEAP, INC., a Delaware
corporation,

                Defendant.

Before: PAEZ and HUNSAKER, Circuit Judges.

      Petitioner’s motion for leave to file a reply (Docket Entry No. 8) is granted.

      The petition for permission to appeal pursuant to 28 U.S.C. § 1292(b) is

granted. Within 14 days after the date of this order, petitioner shall perfect the

appeal in accordance with Federal Rule of Appellate Procedure 5(d).




SC/MOATT
